      Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA              )
                                      )      CRIMINAL ACTION NO.
v.                                    )      3:18-cr-408-RAH
                                      )
DEMETRIS DUANE CLARK                  )

                   MEMORANDUM OPINION and ORDER

      Defendant Demetris Duane Clark (“Clark”) was charged on September 26,

2018, in an indictment with one count of possession with intent to distribute a

controlled substance in violation of 18 U.S.C. § 841(a)(1). On February 18, 2020,

he filed a motion to suppress “all tangible and testimonial evidence recovered as a

result of his unlawful traffic stop and unreasonable detention.” (Doc. 17, p. 1.)

Specifically, he requests the suppression of all drugs, contraband, and statements

made on February 7, 2017, and incriminating statements made in jail telephone

recordings on February 8, 9, 10, and 19 of 2017. (Id., p. 12.) Claiming the officer

did not have reasonable suspicion to stop the vehicle or consent to search his

backpack and that the officer violated his Miranda rights, Clark asserts the United

States should be “prohibit[ed] . . . from using or introducing at trial any and all

information and/or fruits of such information, obtained as a result of [the] illegal

stop and seizure.” (Id.)

      After an evidentiary hearing, the Magistrate Judge recommended the Court
      Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 2 of 7




deny the Motion to Suppress Evidence. (Doc. 56.) On September 17, 2020, Clark

filed Objections to the Report and Recommendation of the Magistrate Judge. (Doc.

60.) Upon an independent and de novo review of the record, including a review of

the transcript, as well as video footage and other evidentiary materials presented

during the hearing before the Magistrate Judge, and for the reasons that follow, the

Court concludes that the Objections are due to be OVERRULED and the Motion to

Suppress is due to be DENIED.


                          I. STANDARD OF REVIEW

      When a party objects to a Magistrate Judge’s Report and Recommendation,

the district court must review the disputed portions of the Recommendation de novo.

28 U.S.C. § 636(b)(1).     The district court “may accept, reject, or modify the

recommendation; receive further evidence; or resubmit the matter to the magistrate

judge with instructions.” FED.R.CRIM.P. 59(b)(3).

      De novo review requires the district court to independently consider factual

issues based on the record. Jeffrey S. ex rel. Ernest S. v. State Bd. of Educ. of Ga.,

896 F.2d 507, 513 (11th Cir. 1990). “Although de novo review does not require a

new hearing of witness testimony, United States v. Raddatz, 447 U.S. 667, 675–76,

100 S.Ct. 2406, 2412–13, 65 L.Ed.2d 424 (1980), it does require independent

consideration of factual issues based on the record.” Id. If the Magistrate Judge
                                          2
      Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 3 of 7




made findings based on witness testimony, the district court must review the

transcript or listen to a recording of the proceeding. Id. The Court has reviewed the

transcript of the suppression hearing in its entirety and the available video footage.


                                  II. DISCUSSION

      The Magistrate Judge provided a thorough recitation of the facts in her

Recommendation. Consequently, a summary of the facts related to the Motion to

Suppress is not necessary, as the Court adopts the Magistrate Judge’s findings of

fact as set forth in the Recommendation.

      Clark objects to the Magistrate Judge’s finding that “[a]fter the silver car

parked, Officer Carswell parked his vehicle close to the rear of the silver car, without

blocking it, and activated his vehicle lights.” (Emphasis added in Clark’s Objections,

Doc. 60, p. 1 (quoting Doc. 56, p. 3)). He argues the video footage clearly indicates

that the officer’s car prevented Clark from leaving and therefore the “moment of

seizure” began when the officer’s car came to rest. He contends that, because the

facts available to the officer at the moment of seizure did not include an awareness

of the odor of marijuana, the officer lacked sufficient cause to initiate the seizure.

     The Fourth Amendment guarantees “[t]he right of the people to be secure in

their persons ... against unreasonable searches and seizures.” U.S. Const. amend. IV.

“A seizure under the Fourth Amendment occurs when the officer, by means of
                                           3
      Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 4 of 7




physical force or show of authority, has in some way restrained the liberty of a

citizen.” United States v. Franklin, 323 F.3d 1298, 1301 (11th Cir. 2003) (quotation

marks omitted). But “not every encounter between a police officer and a citizen”

constitutes a seizure under the Fourth Amendment. Id. (citation omitted).

      Police-citizen encounters may be categorized into three types: (1) consensual

encounters; (2) brief seizures or investigatory detentions; and (3) full-scale arrests.

United States v. Aponte, 662 Fed. Appx. 780, 784 (11th Cir. 2016) (citing United

States v. Jordan, 635 F.3d 1181, 1185 (11th Cir. 2011)). When the encounter is

consensual, officers may ask questions of individuals, ask to examine an individual's

identification, and request consent to search without implicating the Fourth

Amendment. Florida v. Bostick, 501 U.S. 429, 437 (1991) (stating that these actions

are permissible “as long as the police do not convey a message that compliance with

their requests is required”).

      Regarding the first category of police-citizen encounters, the test for

distinguishing a consensual encounter from a seizure or an arrest is whether “a

reasonable person would feel free to decline the officers' requests or otherwise

terminate the encounter.” United States v. Drayton, 536 U.S. 194, 202 (2002)

(internal quotation marks omitted). This test “is objective and presupposes an

innocent person.” Id. (internal quotation marks omitted; emphasis in original).

                                           4
      Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 5 of 7




     If a reasonable person would feel free to terminate the encounter, no seizure

has occurred, and the Fourth Amendment is not implicated. Aponte, supra (citing

Florida v. Bostick, 501 U.S. at 437). If a reasonable person would not feel free to

terminate the encounter, he has been “seized,” and the Fourth Amendment is

implicated. Franklin, 323 F.3d at 1301. To determine whether an encounter is

consensual or coercive, courts must consider “all the circumstances surrounding the

encounter.” Drayton 536 U.S. at 201 (quotation marks omitted). Facts relevant to

determining whether a reasonable person would feel free to decline the officers’

requests or terminate the encounter include whether the officers made any

intimidating movements, displayed an overwhelming show of force, brandished any

weapons, made any threats or commands, or blocked the individual's path of exit.

See Drayton, 536 U.S. at 204. See also Jordan, 635 F.3d at 1186 (quoting United

States v. Perez, 443 F.3d 772, 778 (11th Cir. 2006) (discussing similar factors).

These factors are not exhaustive and are not meant to be applied rigidly. Jordan, 635

F.3d at 1186. They are “simply guidance for the holistic inquiry into whether a

reasonable person would feel free to decline the officers' requests or terminate the

encounter.” Aponte, 662 Fed. Appx. at 784 (citing Jordan, supra).

     The Fourth Amendment prohibits “unreasonable searches and seizures,” U.S.

CONST. amend. IV. Therefore, to trigger Fourth Amendment scrutiny, a “search”

                                          5
      Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 6 of 7




or “seizure” must have occurred. Otherwise, the encounter is “consensual” and

does not implicate the Fourth Amendment. See id. at 1185–86.

     Clark argues that, when the officer blocked his path of exit with the police

vehicle, he was “seized,” thereby implicating the Fourth Amendment. This Court

has reviewed the video footage, and observed such things as the positions of the

vehicles and the curb, and the numbers of steps taken by the officer to walk from the

curb and to the police vehicle, and finds the police vehicle did not block Clark’s

vehicle and there was enough space for Clark to exit the parking space. Thus, the

Fourth Amendment was not implicated at the moment the police vehicle came to rest

and/or before the officer became aware of any contraband.

     Based on the foregoing, the Court concludes that Clark’s objections to the

Magistrate Judge’s factual finding that the officer did not block his car and the legal

conclusion that the seizure was constitutionally permissible are due to be overruled.

                                   III. CONCLUSION

      For the reasons as stated, the Court concludes that Clark’s Fourth Amendment

rights were not violated, and the Motion to Suppress is due to be denied.

Accordingly, it is

      ORDERED as follows:

      1. The Defendant’s Objections (Doc. 60) are OVERRULED;

                                           6
Case 3:18-cr-00408-RAH-JTA Document 65 Filed 09/28/20 Page 7 of 7




2. The Recommendation of the Magistrate Judge (Doc. 56) to deny the

   Motion to Suppress is ADOPTED; and

3. The Defendant’s Motion to Suppress (Doc. 17) is DENIED.

DONE, this 28th day of September, 2020.


                              /s/ R. Austin Huffaker, Jr.
                       R. AUSTIN HUFFAKER, JR.
                       UNITED STATES DISTRICT JUDGE




                                7
